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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

  ANTONIO HUNTER, #K51529                      )
                                               )
                 Plaintiff,                    )
                                               )
  vs.                                          )       Case No. 21-cv-271-NJR
                                               )
  ILLINOIS DEPARTMENT OF                       )
  CORRECTIONS, ROBERT JEFFREYS,                )
  WEXFORD HEALTH SOURCES, INC.,                )
  STEVE MEEKS and STEPHEN RITZ,                )
                                               )
                 Defendants.                   )

                        DEFENDANTS’ RULE 26(a)(3) DISCLOSURES

         COME NOW Defendants, THE ILLINOIS DEPARTMENT OF CORRECTIONS and

  STEVE MEEKS, by and through their attorney, Kwame Raoul, Attorney General of the State of

  Illinois, and pursuant to Fed. R. Civ. P. 26(a)(3), hereby provide their Rule 26(a)(3) Disclosures:

  A.     Witnesses Defendants expect to present at trial:

             a. Antonio Hunter, #K51529: c/o Loevy & Loevy, 311 N. Aberdeen St., 3 rd Floor,
                Chicago, IL 60607. Mr. Hunter is the Plaintiff in this matter. He is capable of
                testifying about the allegations in his Complaint.

             b. Dr. Steve Meeks: c/o Office of the Illinois Attorney General, 201 West Pointe Dr.,
                Suite 7, Swansea, IL 62226. Dr. Meeks is a named Defendant in this matter. He is
                capable of testifying about the allegations in Plaintiff’s Compliant and the policies
                and procedures within the Illinois Department of Corrections.

             c. Christine Brown, c/o Office of the Illinois Attorney General, 201 West Pointe Dr.,
                Suite 7, Swansea, IL 62226. Ms. Brown was the ADA Coordinator at Pinckneyville
                Correctional Center from approximately 2017 to 2022. She is capable of testifying
                about IDOC rules, policies, procedures, and ADA accommodations at
                Pinckneyville Correctional Center.

             d. Edward Potash, c/o Office of the Illinois Attorney General, 201 West Pointe Dr.,
                Suite 7, Swansea, IL 62226. Mr. Potash is employed as the Executive Secretary II
                to the Medical Director for the Illinois Department of Corrections. He is capable of
                testifying about the procedure for receipt of communications within the Office of
                the Medical Director for the IDOC.
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  B.     Witnesses Defendants will call only if the need arises:

             a. Dr. Stephen Ritz: c/o Sandberg, Phoenix, 600 Washington Ave., 15 th Floor, St.
                Louis, MO 63101. Dr. Ritz is a named Defendant in this matter. He is capable of
                testifying about the allegations in Plaintiff’s Compliant and the policies and
                procedures of Wexford Health Sources, Inc.

             b. Dr. Glen Babich: c/o Sandberg, Phoenix, 600 Washington Ave., 15 th Floor, St.
                Louis, MO 63101. Dr. Babich is capable of testifying about the allegations in
                Plaintiff’s Compliant and the policies and procedures of Wexford Health Sources,
                Inc.

             c. Dr. Percy Myers: c/o Sandberg, Phoenix, 600 Washington Ave., 15 th Floor, St.
                Louis, MO 63101. Dr. Myers provided medical treatment to Plaintiff during his
                time at Pinckneyville Correctional Center and is capable of testifying as to his
                treatment and assessments of Plaintiff.

             d. Tyler King: Pinckneyville Correctional Center, 5835 IL-154, Pinckneyville, IL
                62274. Mr. King was assigned as Plaintiff’s Correctional Counselor II during his
                time at Pinckneyville Correctional Center and is capable of testifying to his
                interactions with Plaintiff during the relevant timeframe.

             e. Dr. Jerrold B. Noble: Pinckneyville Community Hospital, 5383 State Route 154,
                P.O. Box 347, Pinckneyville, IL 62274. Dr. Noble treated Plaintiff on May 29,
                2019, at Pinckneyville Community Hospital and is capable of testifying as to his
                treatment and assessments of Plaintiff.

             f. Heather Davis, FNP: SIH Medical Group Colorectal Surgery, 305 W. Jackson St.,
                Suite 206, Carbondale, IL 62901. Ms. Davis evaluated Plaintiff on March 24, 2022,
                and is capable of testifying as to her treatment and assessments of Plaintiff.

             g. Records Custodian: Pinckneyville Correctional Center, 5835 IL-154,
                Pinckneyville, IL 62274. The Records Custodian has knowledge of the
                recordkeeping procedures at Pinckneyville Correctional Center.

             h. Medical Records Custodian: Pinckneyville Correctional Center, 5835 IL-154,
                Pinckneyville, IL 62274. The Medical Records Custodian has knowledge of the
                medical recordkeeping procedures at Pinckneyville Correctional Center.

             i. Any and all witnesses disclosed by Plaintiff or Co-Defendants as witnesses they
                may call.

  C.     Witnesses Defendants expect to present by deposition:

             a. None




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  D.     Exhibits

             a. Exhibits Defendants expect to offer at trial.

                     1. Plaintiff’s Medical Records, Bates stamped Nos. 000069-000908
                            a. Outpatient Progress Notes dated January 16, 2018, Bates stamped
                                No. 000080-000081
                            b. Outpatient Progress Note dated April 19, 2018, Bates stamped No.
                                000087
                            c. Outpatient Progress Note dated April 28, 2018, Bates stamped No.
                                000090
                            d. Outpatient Progress Notes dated May 3, 2018, and May 4, 2018,
                                Bates stamped No. 000092
                            e. Outpatient Progress Note dated June 28, 2018, Bates stamped No.
                                000093
                            f. Medical Special Services Referral and Report dated April 28,
                                2018, and May 3, 2018, Bates stamped No. 000119
                            g. Medical Special Services Referral Denial or Revision dated May 8,
                                2108, Bates stamped No. 000120
                            h. Pinckneyville Community Hospital Emergency Department
                                Record dated May 29, 2019, Bates stamped No. 000303-000313
                            i. Outpatient Progress Note dated March 1, 2022, Bates stamped No.
                                000630
                            j. Outpatient Progress Note dated March 24, 2022, Bates stamped
                                No. 000672
                            k. Outpatient Progress Note dated March 30, 2022, Bates stamped
                                No. 000673
                            l. Medical Special Services Referral and Report dated March 24,
                                2022, Bates stamped No. 000674
                            m. Outpatient Progress Note dated April 11, 2022, Bates stamped No.
                                000682
                            n. Outpatient Progress Note dated April 21, 2022, Bates stamped No.
                                000684
                            o. SIH Medical Group Letter dated March 24, 2022, Bates stamped
                                Nos. 000689-000693
                            p. Outpatient Progress Note dated May 12, 2022, Bates stamped No.
                                000699
                            q. Outpatient Progress Note dated May 26, 2022, Bates stamped No.
                                000700
                            r. Medical Special Services Referral and Report dated May 12, 2022,
                                Bates stamped No. 000701
                            s. Medical Special Services Referral and Report dated May 12, 2022,
                                Bates stamped No. 000703

                     2. Grievance Logs, Bates stamped Nos. 000024; 000032




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             b. Exhibits Defendants will offer only if the need arises.

                     1. Plaintiff’s Complaint (Court Doc. 1)

                     2. Plaintiff’s Deposition

                     3. Cumulative Counseling Summary, Bates stamped Nos. 000033-000048

                     4. IGRV, Bates stamped No. 000001

                     5. Grievances and Responses, Bates stamped Nos. 000002-000023; 000049-
                        000060

                     6. June 7, 2019, Letter from Loevy & Loevy re: Plaintiff

                     7. Deposition of Dr. Steve Meeks

                     8. Deposition of Christine Brown

                     9. Deposition of Edward Potash

                     10. Deposition of Dr. Stephen Ritz

                     11. Deposition of Dr. Glen Babich

         Defendants may introduce any other documents produced in discovery, any documents

  identified by Plaintiff or Co-Defendants as exhibits, and documents placed on the record by

  Plaintiff or Co-Defendants, and any affidavits by Plaintiff, Co-Defendants, or witnesses.

                                                 Respectfully submitted,

                                                 THE ILLINOIS DEPARTMENT OF
                                                 CORRECTIONS and STEVE MEEKS,

                                                        Defendants,

  Tara M. Barnett, #6327008                      KWAME RAOUL, Attorney General,
  Assistant Attorney General                     State of Illinois,
  Metro East Office
  201 West Pointe Dr., Ste. 7                           Attorney for Defendants,
  Belleville, Illinois 62226
  (618) 236-8781 Phone                           By: s/Tara M. Barnett
  (618) 236-8620 Fax                                    TARA M. BARNETT, #6327008
  Email: tara.barnett@ilag.gov                          Assistant Attorney General



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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

  ANTONIO HUNTER, #K51529                      )
                                               )
                 Plaintiff,                    )
                                               )
  vs.                                          )      Case No. 21-cv-271-NJR
                                               )
  ILLINOIS DEPARTMENT OF                       )
  CORRECTIONS, ROBERT JEFFREYS,                )
  WEXFORD HEALTH SOURCES, INC.,                )
  STEVE MEEKS and STEPHEN RITZ,                )
                                               )
                 Defendants.                   )

                                  CERTIFICATE OF SERVICE

  I hereby certify that on May 31, 2024, the foregoing document, Defendants’ Rule 26(a)(3)
  Disclosures, was electronically filed with the Clerk of the Court using the CM/ECF system which
  will electronically send notice to:

  Stephen H. Weil               weil@loevy.com
  Maria Makar                   makar@loevy.com
  Dennis S. Harms               dharms@sandbergphoenix.com

  and I hereby certify that on the same date, I caused a copy of the document to be mailed by United
  States Postal Service to the following non-registered participant:

  None




                                                      Respectfully Submitted,

                                                       s/ Tara M. Barnett
                                                      Tara M. Barnett, #6327008
                                                      Assistant Attorney General
                                                      Metro East Office
                                                      201 West Pointe Dr., Ste. 7
                                                      Belleville, Illinois 62226
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                                                      Email: tara.barnett@ilag.gov




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